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Received(Date): Fri, 09 Mar 2007 10:13:43 -0800

From: Danielle Lambert <lambert@apple.com>
Subject: Fwd: Google recruiters calling into Apple - isolated incident
To: Mark Bentley <mbentley@apple.com>

Begin forwarded message:

From: Steve Jobs <sjobs@apple.com>

Date: March 9, 2007 10:05:26 AM PST

To: Danielle Lambert <lambert@apple.com>

Subject: Fwd: Google recruiters calling into Apple - isolated incident

:)

Steve

Begin forwarded message:

From: Eric Schmidt <eschmidt@google.com>

Date: March 9, 2007 8:21:25 AM PST

To: sjobs@apple.com

Subject: Google recruiters calling into Apple - isolated
incident

Steve, as a followup we investigated the recruiter's actions and she violated our
policies. Apologies again on this and I'm including a portion of the email I
received from our head of recruiting. Should this ever happen again please let me
know immediately and we will handle. Thanks !! Eric

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From Google recruiting to me:

On this specific case, the sourcer who contacted this Apple employee should not
have and will be terminated within the hour. We are scrubbing the sourcer's
records to ensure she did not contact anyone else.

In general, we have a very clear ‘do not call' policy (attached) that is given to
every staffing professional and I reiterate this message in ongoing
communications and staffing meetings. Unfortunately, every six months or so
someone makes an error in judgment, and for this type of violation we terminate
their relationship with Google.

Please extend my apologies as appropriate to Steve Jobs. This was an isolated
incident and we will be very careful to make sure this does not happen again.

EXHIBIT 250

Mark Bentley
8-23-12

9 Ss OD 1 | Gina V. Carbone, CSR

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